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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
UNITED STATES OF AMERICA,                 )
                                          )
      v.                                  )                Criminal No. 21-0123 (PLF)
                                          )
VITALI GOSSJANKOWSKI,                     )
                                          )
            Defendant.                    )
__________________________________________)


                                            ORDER

               On February 1, 2023, this Court issued an order granting in part Mr.

GossJankowski’s Motion to Suppress Physical Evidence and Property (“Mot.”) [Dkt. No. 108]. 1

See Dkt. No. 116. Mr. GossJankowski moved this Court to order the government to return the

digital devices that had been seized by law enforcement during the execution of a search warrant

at his residence on January 18, 2021. Mr. GossJankowski also moved the Court to suppress any

evidence derived from the devices seized and searched pursuant to the search warrant. The

Court heard argument on January 17, 2023, and subsequently issued an opinion upon

consideration of the parties’ written submissions and oral arguments. The Court ordered the

government to return Mr. GossJankowski’s devices to him and held in abeyance his motion to

suppress. See Dkt. No. 116.

               Mr. GossJankowski’s motion to suppress concerns three categories of exhibits:

               (1) Exhibits 200, 201, 202, 203, and 204 – still-images obtained from

                   Mr. GossJankowski’s Apple iPad Pro (“iPad exhibits”).




       1
               Formerly docket number 72-2.
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               (2) Exhibits 205, 206, and 207 – still-images obtained from

                    Mr. GossJankowski’s Apple iPhone 7 XR. (“iPhone 7 exhibits”).

               (3) Exhibits 208 and 209 – videos obtained from Mr. GossJankowski’s Apple

                    iPhone 11 (“iPhone 11 exhibits”).

               At this time, the Court is inclined to grant Mr. GossJankowski’s motion to

suppress as to the iPad exhibits and deny the motion as to the iPhone 7 and iPhone 11 exhibits.

The Court, however, would benefit from additional briefing and argument. The Court directs

counsel to submit supplemental memoranda of law addressing the scope of the search of the

devices’ contents authorized by the warrant. In particular, the Court requests that the parties

address: United States v. Griffith, 867 F.3d 1265 (D.C. Cir. 2017); United States v. Smith, Crim.

No. 19-0324, 2021 WL 2982144 (D.D.C. July 15, 2021); United States v. Manafort, 314 F.

Supp. 3d 258 (D.D.C. 2018); In re Search of Apple iPhone, 31 F. Supp. 3d 159 (D.D.C. 2014); In

re Search of Information Associated with [Redacted]@mac.com, 25 F. Supp. 3d 1

(D.D.C. 2014); and any additional authority addressing the parameters of the government’s

search of digital devices.

               It is hereby ORDERED that the parties are to file memoranda of law in

accordance with the forgoing instructions.

               SO ORDERED.



                                                             .___/s/________________._____
                                                             PAUL L. FRIEDMAN
                                                             United States District Judge

DATE:     March 2, 2023




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